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GEoRGE ARMsTRoNe

Marty McAfeel CJA
Defense Attorney

246 Adams
Memphis, TN 38103

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on Apri| 15, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title s. section N_MM.M§§ Offense Number(s)
Concluded
21 U.S.C. § 841(a)(1) Possession with intent to Distribute 10/16/2003 1

PCP (Phencyclidine)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2 end 3 are dismissed on the motion of the United States.
lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fmes, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of |rnposition of Sentence:
Defendant's Date of Birth: 07/30/1979 August 12, 2005
Deft’s U.S. |V|arshal Nc.: 19234-076

Defendant's N|ailing Address:
605 Loyo|a Avenue

carson, cA 90746 /Ql\(‘) M\ OM
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lTED TATEs orsTRlcT JchE

August 1<;1 , 2005

 

This document entered on the docket sheet in compliance

with nule se and/or 32(b) Fnch on X*}¢Z '05

ms

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Case No: 2:03CR20425-01-M| Defendant Name: George ARMSTRONG Page 2 of 4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 120 Months (or 10 ¥ears).

The Court recommends to the Bureau of Prisons:

1. The defendant be allowed to participate in the 500-hour intensive drug treatment
program while incarcerated

2. The defendant be incarcerated at a facility as close to Los Angeles, CA as possible.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as fotlows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:03CR20425-01-M| Defendant Name: George ARMSTRONG Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearml ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain frorn the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ofncer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:030R20425-O1-M| Defendant Name: George ARMSTRONG Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall cooperate with DNA collection as directed by the Probation Office.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

3. The defendant shall seek and maintain fuli-time employment
CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

   

UNITED `SETATS DISTRICT COURT - W"RTE D'SR'CTT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
case 2:03-CR-20425 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
Memphis7 TN 38103

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

